Case 3:08-cr-00186-REP-RCY Document 317 Filed 11/02/18 Page 1 of 6 PageID# 2817

                                                                              p      1       L        IH   nl
                     IN THE UNITED STATES DISTRICT COURT
                                                                                        NOV - 2 2oi8
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division                         CLERK, U.S. DISTRICT COURT
                                                                                        RICHMOND. VA


UNITED STATES OF AMERICA


V.                                                             Criminal No. 3:08CR186


SPENCER PETERS


                                  MEMORANDUM OPINION


       By Memorandum           Opinion    and    Order entered        on     February 20,

2015, the Court denied on the merits a motion under 28 U.S.C.

§ 2255     filed     by    Spencer       Peters.        United    States       v.       Peters,

No. 3:08CR186,         2015     WL    749917,     at   *1-11     (E.D.       Va.    Feb.      20,

2015.)     On February 12, 2018, the Court received from Peters a

COMBINED      MOTION     AND    MEMORANDUM      OF   LAW   PURSUANT     TO   FED.       R.   CIV.


P.    60(b)(3)     and    (6)   SEEKING    RELIEF      FROM    THIS   COURT'S       FEBRUARY

19,    2015    MEMORANDUM        OPINION    AND      ORDER    DENYING    HIS       28    U.S.C.

§ 2255 MOTION.           (''Rule 60(b) Motion, EOF No. 300.")                  In his Rule

60(b) Motion,^ Peters contends that the Court should vacate the



       ^   Federal       Rule    of    Civil      Procedure      60(b)       provides,           in
pertinent part:

       (b)  Grounds for Relief from a Final Judgment, Order,
       or Proceeding.   On motion and just terms, the court
       may relieve a party or its legal representative from a
       final judgment, order, or proceeding for the following
       reasons:



              (3) fraud (whether previously called intrinsic or
              extrinsic), misrepresentation, or misconduct by
              an opposing party;

              (6) any other reason that justifies relief.
Case 3:08-cr-00186-REP-RCY Document 317 Filed 11/02/18 Page 2 of 6 PageID# 2818




denial    of      his   §    2255   Motion      due        to   fraud     and    exceptional

circumstances.              However,      Peters's         Rule     60(b)       Motion       also

contains     at    least      one   claim      that        challenges      his       underlying

conviction        and   sentence.            Accordingly,         by     Memorandum      Order

entered      on    September        24,      2018,      the       Court     explained         the

following:

               The Antiterrorism and Effective Death Penalty Act
      of 1996 restricted the jurisdiction of the district
      courts to hear second or successive applications for
      federal habeas corpus relief by prisoners attacking
      the validity of their convictions and sentences by
      establishing a "^gatekeeping' mechanism."    Felker v.
      Turpin, 518 U.S. 651, 657 (1996).        Specifically,
      "[b]efore a second or successive application permitted
      by this section is filed in the district court, the
      applicant shall move in the appropriate court of
      appeals for an order authorizing the district court to
      consider the application." 28 U.S.C. § 2244(b)(3)(A).
           "[A] Rule 60(b) motion in a habeas proceeding
      that     attacks       ^the   substance         of    the    federal      court's
      resolution        of   a   claim    on    the    merits'      is    not    a   true
      Rule     60(b)     motion,       but     rather       a   successive       habeas
      petition," and is subject to the preauthorization
      requirement of 28 U.S.C. § 2244(b)(3)(A) (2012).
      United States v. McRae, 793 F.3d 392, 397 (4th Cir.
      2015) (quoting Gonzalez v. Crosby, 545 U.S. 524, 531-
      32 (2005)). By contrast, "[a] Rule 60(b) motion that
      challenges  ^some defect in the integrity of the
      federal habeas proceedings' . . . is a true Rule 60(b)
      motion, and is not subject to the preauthorization
      requirement." Id. (quoting Gonzalez, 545 U.S. at 531-
      32).         Where,     however,       the   movant         "presents      claims
      subject    to  the    requirements  for   successive
      applications as well as claims cognizable under Rule
      60(b)," such a motion is a mixed Rule 60(b)/§ 2255
      motion.    Id.   at  400 (quoting    United  States                               v.
      Winestock, 340 F.3d 200, 207 (4th Cir. 2003)).



Fed. R. Civ. P. 60(b)(6).
Case 3:08-cr-00186-REP-RCY Document 317 Filed 11/02/18 Page 3 of 6 PageID# 2819




             Peters's Rule 60(b) Motion contains at least one
      claim that challenges his underlying conviction and
      sentence and may be a successive § 2255 motion.
      Peters   argues  that  the   Court   unconstitutionally
      interfered with his criminal proceedings.   (Rule 60(b)
      Mot.   13-20.)    Because  Peters   has   not  obtained
      authorization from the United States Court of Appeals
      for   the     Fourth    Circuit      to   file   a   successive § 2255
      motion, this Court lacks jurisdiction to entertain
      this portion of the Rule 60(b) Motion.
           To the extent that Peters is not challenging his
      underlying conviction or sentence but a perceived flaw
      in his § 2255 proceeding, that claim may not be
      successive. Thus, it appears that the Rule 60(b) is a
      mixed Rule 60(b)/§ 2255 motion, see McRae, 793 F.3d at
      397; Gonzalez, 545 U.S. 532 n.4,                 and the      Court must
      afford  Peters  the  opportunity to   elect between
      deleting his successive § 2255 claims or having his
      entire motion treated as             a    successive § 2255      motion.
      See McRae, 793 F.3d 400.
             Accordingly, within thirty (30) days of the date
      of    entry hereof, Peters is directed to notify the
      Court whether he would like to delete the improper
      claims or have the entire Rule 60(b) Motion treated as
      a successive application. Failure to respond within
      thirty (30) days will result in dismissal of the
      action without prejudice.

(ECF No. 311, at 2-4.)



                             I.     SPENCER'S RESPONSE


      Peters has responded to the September 24, 2018 Memorandum

Order.      In    sum,   Peters     states:      "I    would   like   to   delete   my

improper     2255     claim       that's    challenging        my   conviction      and

sentence."        (ECF No. 314, at 1.)             With the improper claim or
Case 3:08-cr-00186-REP-RCY Document 317 Filed 11/02/18 Page 4 of 6 PageID# 2820




claims deleted,^ the Court will proceed with the motion as one

filed under Federal Rule of Civil Procedure 60(b).



                           II.    RULE 60(b) MOTION

       Essentially, Peters argues that he and                   his co-defendants

paid   an    individual    to    ghostwrite      a    § 2255    motion   for     them

without     doing   due    diligence      into       his   background,    and,    in

hindsight, is dissatisfied with the product he received.                       (Rule

60(b) Mot. 3-5.)          Peters argues that this is fraud under Rule

60(b)(3) and because, there are "defects in the integrity of the

Court's ruling. Rule 60(b)(6) also applies."                    (Rule 60(b) Mot.

1.)

       A    party   seeking      relief   under       Federal     Rule   of    Civil

Procedure 60(b) must make a threshold showing of "^timeliness, a

meritorious defense, a lack of unfair prejudice to the opposing

party, and exceptional circumstances.'"                    Powell v. State Farm

Fire   & Cas. Auto. Ins. Co., 993 F.2d 46, 48 (4th Cir. 1993)

(quoting Werner v. Carbo, 731 F.2d 204, 207 (4th Cir. 1984)).

After a party satisfies this threshold showing, "he [or she]

then   must    satisfy    one    of the   six    specific       sections of      Rule

60(b)."       Id. (citing Werner, 731 F.2d at 207).                  Peters seeks

relief under Rule 60(b)(3) and (6), hence, under Federal Rule of



       ^ The claims attacking his conviction and sentence (see Rule
60(b) Mot. 13-20), are improper, and upon Peters's instruction,
are deleted.
Case 3:08-cr-00186-REP-RCY Document 317 Filed 11/02/18 Page 5 of 6 PageID# 2821




Civil   Procedure     60(c)(1)    he    was    required     to   file    his   motion

within a      reasonable time after the entry of the                  February 20,

2015 Memorandum Opinion and Order.               Fed. R. Civ. P. 60(c)(1)("A

motion under Rule 60(b) must be made within a reasonable time-

and for reasons (1), (2), and (3) no more than a year after the

entry of the judgment or order or the date of the proceeding.")

Peters's Rule 60(b) Motion, filed more than two years after the

entry of the challenged judgment, was not filed in a reasonable

time.     See McLawhorn v.       John    W. Daniel &        Co., Inc., 924       F.2d

535, 538      (4th Cir. 1991) ("We        have      held on several occasions

that a Rule 60(b) motion is not timely brought when it is made

three to four months after the original judgment and no valid

reason is given for the delay." (citing Cent. Operating Co. v.

Utility    Workers   of Am.,     491    F.2d   245 (4th      Cir.1974); Consol.

Masonry & Fireproofing, Inc. v. Waqman Constr. Corp., 383 F.2d

249    (4th   Cir.1967))).       Peters    fails     to   offer   any     persuasive

argument as to why this Court should find that his Rule 60(b)(3)

or (6) Motion was filed within a reasonable time.                        Cf. Fortune

V. Clarke, 712 F. App'x 296, 297 (4th Cir. 2018) (explaining

that    determination     of   timeliness      of    a    Rule   60(b)    motion     is

discretionary, not jurisdictional).

       Moreover,   "[a]   motion       under   [Rule]      60(b)(6)     may    not   be

granted absent       ^extraordinary circumstances.'"              MLC Auto., LLC

V. Town of Southern Pines, 532 F.3d 269, 277 n.5 (4th Cir. 2008)
Case 3:08-cr-00186-REP-RCY Document 317 Filed 11/02/18 Page 6 of 6 PageID# 2822




(quoting Reid v. Anqelone, 369 F.Sd 363, 370 (4th Cir. 2004)).

Peters   fails   to   demonstrate    that   extraordinary       circumstances

warrants review of the Court's dismissal of his § 2255 Motion or

that he has a meritorious claim.           At most, Peters's family made

an unwise investment in hiring an individual to ghostwrite his

§ 2255 Motion, but he fails to demonstrate any fraud upon this

Court or any other ground for Rule 60(b) relief.^                Accordingly,
the   Rule   60(b)    Motion    (ECF No.    300)   will    be   denied.^    A

certificate of appealability will be denied.

      The Clerk is directed to send a copy of this Memorandum

Opinion to Peters and counsel for the United States.

      It is so ORDERED.



                            ^                        /s/
Date: fy                            Robert E. Payne
Richmond, Virginia                  Senior United States District Judge


      ^ Peters represented to the Court that he was proceeding pro
se.   Therefore, Peters alone is responsible for the arguments he
Resented to the Court.          To the extent that Peters believes he
was   entitled   to   the   effective   assistance   of    counsel   for   his
purportedly pro se § 2255, he is incorrect.           See Pennsylvania v.
Finley, 481 U.S. 551, 555 (1987) (observing there is no general
constitutional right to appointment of counsel to develop and
pursue post-conviction relief).

     ^ Buried in his Rule 60(b) Motion, Peters, for the first
time, indicates that he should be able to obtain relief under
Federal Rule of Civil Procedure 60(d).             (Rule 60(b) Mot. 20.)
Peters did not bring his motion pursuant to Rule 60(d).                    It
appears that Peters is seeking permission from the Court to file
a Rule 60(d) Motion.    Peters is free to file any motion he
desires, however, that motion will be subject to any relevant
procedural or jurisdictional restrictions.
